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                 16                                   UNITED STATES DISTRICT COURT
                 17                                 NORTHERN DISTRICT OF CALIFORNIA
                 18                                      SAN FRANCISCO DIVISION
                 19
                        MARC OPPERMAN, et al.,                           Case No. 13-cv-00453-JST
                 20
                                        Plaintiffs,                      CLASS ACTION
                 21
                                                                         STIPULATED MOTION FOR
                 22             v.                                       ADMINISTRATIVE RELIEF REGARDING
                                                                         PAYMENT OF CERTAIN CLAIMS WITH
                 23     KONG TECHNOLOGIES, INC., et al.                  MISSING INFORMATION; [PROPOSED]
                                                                         ORDER
                 24
                                        Defendants.
                 25                                                      THIS DOCUMENT ALSO RELATES TO:
                                                                         Hernandez v. Path, Inc., No. 12-cv-1515-JST
                 26                                                      (collectively, the “Related Actions”)

                 27

                 28
      K E R R
    ––––– & –––––
W   A G S T A F F E
        LLP             Case No.: 13-cv-00453-JST                               STIPULATED ADMIN MOTION RE PAYMENT
                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 2 of 7




                    1   TO THE COURT, ALL PARTIES, AND COUNSEL OF RECORD:

                    2            PLEASE TAKE NOTICE that all parties to the class action settlement, through their

                    3   counsel of record, STIPULATE pursuant to Civil Local Rules 7-11 and 7-12 that the Court

                    4   should enter this stipulated order allowing the settlement administrator, KCC, to mail physical

                    5   letters with Amazon credits codes on them to class members who submitted claims but whose

                    6   contact information was incomplete as discussed below.

                    7            WHEREAS, KCC has advised counsel for the parties that 502 of the class members who

                    8   submitted timely claims and requested distribution by check did not provide a name to go on that

                    9   check;

                 10              WHEREAS, neither KCC nor Class Counsel have been able to obtain those class

                 11     members’ names;

                 12              WHEREAS, an additional 609 class members submitted claims for an Amazon credit

                 13     with an email address that is presently invalid (and which therefore cannot receive email);

                 14              WHEREAS, KCC has a mailing address for each class member in these two groups;

                 15              WHEREAS, KCC has recommended that it be allowed to send each of these groups of

                 16     class members an Amazon credit code in printed form rather than email (i.e. a printed “gift

                 17     card”) as a method of distributing their payments; and

                 18              WHEREAS no other method of providing the benefits to these class members appears

                 19     available within the parameters of the settlement and the information known to KCC;

                 20              THEREFORE, it is hereby stipulated and agreed by the parties that:

                 21              1.     the Court should instruct KCC to send via US Mail Amazon credit codes to the

                 22     502 class members who requested checks but have not provided their names notwithstanding

                 23     those class members’ request for a check; and

                 24              2.     the Court should instruct KCC to send via US Mail Amazon credit codes to the

                 25     609 class members whose emails are invalid, as well as to any other class members whose emails

                 26     are invalid at the time of the distribution.

                 27              IT IS SO STIPULATED.

                 28              ///
      K E R R
    ––––– & –––––                                                       2
W   A G S T A F F E
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                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 3 of 7




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      K E R R
    ––––– & –––––                                            3
W   A G S T A F F E
        LLP             Case No.: 13-cv-00453-JST                   STIPULATED ADMIN MOTION RE PAYMENT
                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 4 of 7




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      K E R R
    ––––– & –––––                                            4
W   A G S T A F F E
        LLP             Case No.: 13-cv-00453-JST                  STIPULATED ADMIN MOTION RE PAYMENT
                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 5 of 7




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      K E R R
    ––––– & –––––                                            5
W   A G S T A F F E
        LLP             Case No.: 13-cv-00453-JST                  STIPULATED ADMIN MOTION RE PAYMENT
                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 6 of 7




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                    4                                         INC.

                    5
                                                         [PROPOSED] ORDER
                    6
                                 PURSUANT TO STIPULATION, IT IS SO ORDERED.
                    7
                        Dated:                      , 2018
                    8

                    9
                                                              ____________________________
                 10                                           THE HONORABLE JON S. TIGAR
                 11                                           United States District Judge

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                         Case 3:13-cv-00453-JST Document 933 Filed 04/23/18 Page 7 of 7




                    1                                           ATTESTATION

                    2            I attest that concurrence in the filing of this document has been obtained from the

                    3    other signatories listed above.

                    4

                    5   Dated: April 23, 2018                         KERR & WAGSTAFFE LLP

                    6
                                                                 By: /s/ Michael von Loewenfeldt
                    7                                                Michael von Loewenfedlt
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W   A G S T A F F E
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